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       Attorneys for Plaintiff
   6   THERESA BROOKE
   7                             UNITED STATES DISTRICT COURT
   8
                             CENTRAL DISTRICT OF CALIFORNIA
   9
       THERESA BROOKE, a married woman
  10
       dealing with her sole and separate claim,       Case No: 5:22-cv-1605
  11
                            Plaintiff,                 NOTICE OF SETTLEMENT
  12
  13   vs.

  14   SPRINGFIELD TRAMP LLC,
  15
                             Defendants.
  16
              Please take notice that the case has settled. The parties anticipate filing closing
  17
       documents within 30 days.
  18
  19
                     DATED this 20th day of October, 2022.
  20
  21                                               /s/ Peter Kristofer Strojnik
                                                   Peter Kristofer Strojnik (242728)
  22                                               Attorneys for Plaintiff
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